  Case 0:17-cr-60268-WPD Document 1 Entered
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                                               FLSD SE
                                                    Docket 10/31/2017 Page 1 of 5

AO 91(Rev.08/09) CriminalCompl
                             aint

                                 U NITED STATES D ISTRICT C OURT
                                                        forthe
                                              Southem DistrictofFlorida

               United StatesofAm erica                     )
                           V.                              )
                                                           ) casexo. I9 .
                                                                        - $%çé-vgtt.l
  Camilo Andres LandazuriVargas,Jhonny Moises
  Caicedo Valencia,and Francisco JavierVazquez             )
                   Hernandez                               )
                                                           )
                       Defendantls)

                                               CRIM INAL COM PLM NT

        1,thecomplainantin thiscase,sute thatthefollowing istrueto the bestofm y H owledge and belief
Onoraboutthedatcts)of        October13,2017         inthecotmtyof                           Broward        inthe
   Southern Districtof Florida.andelsewhere ,thedefendantts)violated:
           CodeSection                                             OyenseDescri
                                                                              ption
Se
Tidi
 tl onsUni
  e 46, 70503(
          ted a)
              St
               ataes
                  ndCode
                     705V (b)             ConspiracytoPossesswiththeIntenttoDistributefi
                                                                                       ve(5)kilogramsormoreof
                                          Cocainewhileonboardavesselsubjecttothejurisdictionofthe UnitedStates




         Thiscrim inalcomplaintisbased on these facts;




         W Continuedontheattachedsheet.


                                                                                  Complainant'
                                                                                             ssi
                                                                                               gnature

                                                                          Sammv Cruzcoriano;SpecialAoent;HSI
                                                                                  Printednameand title

Swom to before meand signed in my presence.


Date: #              l -/                                                           Judge'
                                                                                                  *

                                                                                         sJïgntzlllre

 City and state:                FortLauderdale,Flori4a               ALICIA 0.VALLE;U.S.MAGISTRATE JUDGE
                                                                                   Printed nameand title
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                                        AFFIDAVIT

       1,Sammy Cruzcoriano,being dulysworn,herebydepose and state:
1.     Iam a SpecialAgentwith the United States Departm entof Homeland Security,Homeland

Security Investigations. Ihave been a SpecialAgentsince 2004. 1am assigned to the Assistant
SpecialAgentin Charge,FortLauderdale Office in Broward County,Florida. As a SpecialAgent,1

am responsible for investigating violations of federalIaw relating to im m igration and customs
enforcement. ln my currentassignment,Iam also responsible for investigations involving the
importation and distribution of controlled substances and the possession and concealm ent of

such controlled substances.         have received specialized training in narcotics related

 investigations. 1am a graduate ofthe Im m igration OfficerBasic Training Course and the Crim inal
 Investigator Training Program at the Federal Law Enforcem ent Training Center. As a law

 enforcementofficerwithinthe meaning ofSection 2510(7)ofTitle 18,United States Code,Iam
 empowered by Iaw to conductinvestigations ofand make arrests for,butnot Iim ited to,offenses

 enumerated in Titles 18,19,21,31 and 46 ofthe United States Code.

       The information contained in this Affidavitis subm itted forthe sole purpose ofestablishing

 probable cause to establish that Cam ilo Andres Landazuri Vargas, Jhonny Moises Caicedo

 Valencia,and Francisco JavierVazquez Hernandez,violated Ti
                                                          tle 46,Uni
                                                                   ted State Code,Sections

 70503(a)(1) and 70506(b), by knowingly and willfully conspiring to possess with intent to
 distributefive (5)kilogramsormore ofcocaine,while on boarda vesselsubjecttothejurisdiction

 ofthe United States.
 3.     Since this Affidavi
                          t is being submitted forthe Iimited purpose of establishing probable
 cause,alIofthe information known to m e and others involved in this investigation is notsetforth

 herein.The facts and inform ation contained in this Affidavitare based on my personalknowledge
 and observations, as well as upon inform ation received in my official capacity from other
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individuals, including other Iaw enforcement officers involved in this investigation who have
investigated the matterorhave personalknowledge ofthe facts herein,and a review of records,

documents,and otherphysicalitems obtained duringthe course ofthis investigation.
4.     On or about October 13,2017,a target of interest was detected on radar by a United

States CoastGuard (MUSCG'')marine patrolaircraftabout 205 nauticalmiles southwestofthe
Costa RicaNpanama borderin internationalwaters.The USCG CutterSpencerwas notified ofthe
sighting and responded to the sam e. A helicopterdispatched from the USCG CutterSpencerto
 interceptthe targetofinterest encountered a go-fastvesseltraveling ata high-rate ofspeed and

 reportedthree (3)passengersaboard with packages onthe deck.The helicoptercommanded by
 radio transmissionsthatthe gœfastvesselto stop in English and Spanish and fired warning shots

 to no avail. A m arksman disabled both engines that were powering the go-fast vessel. The
 helicopter and the marine patfol aircraft left because of low fuel. Before departing, a

 crewmemberofthe marine patrolaircraftobserved a packagejettisoned from the go-fastvessel
 into the ocean. An overthe horizon vesselIaunched from the USCG CutterSpencereventually

 took controlof the go-fast vessel. Other than 'Guidore the hullof the gœfast vesselhad no
 registration num ber,homeport ora painted flag visible. A flag was notflown from the go-fast

 vessel. Thethree (3)passengers aboard the go-fastvesselhad passports in theirpossessions
 and were identified as: Camilo Andres LandazuriVargas (lLandazuri''),Jhonny Moises Caicedo
 Valencia ('Caicedo''), and Francisco Javier Vazquez Hernandez (Vazquez''). The master,
 Landazuri,claim ed the nationalityofthe go-fastvesselwas Colombia butcould produce no proof

 of registration. Contact made with the Colom bian Governm ent failed to confirm ordeny the
 registration ofthe go-fastvessel. The go-fastvesselwastreated as a vesselwithoutnationality in

 internationalwatersand subjecttothejurisdiction ofthe United States.The boarding partynoted
 the presence ofgasoline onthesurface ofthe go-fastvessel. Approximatelytwenty-five (25)fuel
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drums were aboard the gœfastvesselbutno packages were found. Ion scans conducted ofthe

gœfast vesselwere positive forgasoline but negative forcocaine. An aerialsearch ofthe area

around the gœfastvesselhad negative resultsforajettisonfield.The go-fastvesselwas sunk as
a navigationalhazard due to the go-fastvesselbeing disabled,the distance from land,and no

suitabletow pointsexisting.
5.     On oraboutOctober30,2017,the USCG CutterSpencerarrived atGuantanam o Bay,Cuba

 and transferred custody ofthe three (3)crewmembers,Landazuri,Caicedo,and Vazquez,to
 United States law enforcementofficers. Onthatsame date,Landazuri,Caicedo,and Vazquezfirst

 entered the Uni
               ted States atBroward County,Florida.

 6.    After being advised of his M franda rights and waiving the same agreeing 10 make a
 statementwi
           thoutan attorney present,Vazquez stated the go-fastvessellaunched from Tamaco,
 Colom bia transporting between 16 and 18 bales of cocaine to be delivered by boat to boat

 transfer off the coast of Costa Rica. Approxim ately 40 drums of fuelwere aboard the go-fast
 vesselat departure so the go-fast vesselcould travelwithout stopping for gas to its intended
 destination.Once the fuelsupply in a drum was depleted,the containerwas sliced open and

 thrown overboard. After the engines of the go-fast vesselwere disabled and the helicopter

 departed,Caicedo ordered the 16 to 18 bales ofcocaine bejettisoned intothe ocean where the
 bales sunk. Landazurispilled gasoline from one ofthe drums on the surface ofthe go-fastvessel

 to hidethe odorofcocaine. Before the go-fastvesselwas boarded byUSCG personnel,Landazuri

 instructed Caicedo and Vazquez to explain theirpresence aboard the gœfastvesselby telling a

 storythattheywere Iookingfora boatlostatsea.

        After being advised of his M franda rights and waiving the same agreeing to m ake a
 statement without an attorney present,Landazuridenied using the go-fast vesselto transport
  cocaine. lnstead,Landazurisaid the gœfastvesselhe received from an ownerhe could notnam e
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wasusedto searchfora boatwiththree (3)fishermen he knew onlybytheirnicknamesthathad
been missingforfive (5)days.Landazuriwas unableto explain1he reasonforthe presenceofthe
38-40 drum s offuelhe said were aboard the go-fastvesselatthe startofthe trip from Tamaco,

Colom bia.

8.
       The three (3)defendants were placed togetherin a police carwith a hidden device to
record theirconversation. Duringthe recorded conversation,the defendants discussed stickingto

the storythattheywere aboard the go-fastvesselto search fora missing boat.
9.      Based on the information and the facts,your affiant submits probable cause exists to

 believe that Cam ilo Andres LandazuriVargas,Jhonny Moises Caicedo Valencia,and Francisco
 JavierVazquez Hernandez,knowingly and willfully conspired to possess with intentto distribute

 five (5)kilograms ormore ofcocaine,while on board a vesselsubjectto the jurisdiction ofthe
 Uni
   ted States,inviolationTitle46,UnitedStatesCode,Sections70503(a)and 70506(b).
        FURTHER YOUR AFFIANT SAYETH NAUGHT




                                          y Cruzcoriano
                                   SpecialAgent
                                   Hom eland Securi
                                                  tyInvestigations


 sworntoandsubscribedbeforemethi
                               sY ) dayofoctober,2017.
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                       z'             .

 ALICIA 0.VALLE
 UNITED STATES MAGISTRATE JUDGE




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